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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 16-62902-CIV-ZLOCH

  WILLIAM MCLEOD, individually and
  on behalf of all others similarly situated,

                         Plaintiffs,

                 v.

  MONAKER GROUP, INC., f/k/a
  NEXT 1 INTERACTIVE, INC., et al.,

                         Defendants.
                                                  /


                    DEFENDANT, D’ARELLI PRUZANSKY, P.A.’S,
             REPLY IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S
                           CLASS ACTION COMPLAINT
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         Defendant, D’Arelli Pruzansky, P.A. (“DAP”), hereby files its Reply in Support of its
  Motion to Dismiss Plaintiff’s Complaint (ECF No. 31) (the “Motion”) and in support thereof
  states as follows:
  I.     INTRODUCTION
         Nothing in Plaintiff’s Memorandum of Law in Opposition to DAP’s Motion to Dismiss
  (ECF No. 41)(the “Opposition”) can save his Complaint from dismissal. As set forth in DAP’s
  Motion, this action is nothing more than a disguised derivative suit by a disgruntled Monaker
  Group, Inc. (“Monaker”) shareholder. Plaintiff is essentially alleging internal corporate
  mismanagement by Monaker through an alleged fraudulent scheme to keep intercompany
  transfers hidden from the outside world. In doing so, Plaintiff reaches to improperly impute
  DAP, the outside auditor, for allegedly being part of this hidden plan and failing to uncover it.
  To the contrary, DAP had no knowledge of, and did not participate in, the alleged actions that
  form the basis of Plaintiff’s Complaint. Rather, DAP conducted its audit in compliance with
  GAAP and GAAS, properly auditing the appropriate treatment of the intercompany transfers
  between Monaker and its consolidated subsidiary, RealBiz Media Group, Inc. (“RealBiz”).
          Plaintiff’s Opposition fails to sufficiently address the fatal deficiencies in the Complaint.
  Specifically, Plaintiff ignores that DAP was simply an auditor and had no control over
  Monaker’s financial statements. He also continues to ignore the true relationship between
  Monaker and RealBiz while mischaracterizing the requirements for financial transactions
  between the two entities. Next, Plaintiff fails to establish that DAP acted with an intent to
  defraud or that it was severely reckless in its role as auditor. Far from inflating or glowingly
  describing Monaker’s economic condition or prospects to mislead potential investors, DAP
  openly questioned in every audit whether--because of the Company's substantial operating
  losses-- Monaker could continue to operate as a going concern. DAP warned potential investors
  throughout the entire claim period that, because of Monaker’s extremely precarious financial
  condition, it could go out of business at any moment. It simply defies logic to suggest that DAP
  included this “death knell” warning in every audit to induce investors to purchase this
  speculative penny stock.1 As will be discussed in detail below, Plaintiff fails to adequately
  address the arguments raised by DAP in its Motion, and Plaintiff’s Complaint must be dismissed.

  1
    With no operating revenues and fully-disclosed operating losses throughout the claim period
  totaling more than tens of millions of dollars, the alleged failure of DAP to depart from standard
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  II.    ARGUMENT 2
         A. Plaintiff Mischaracterizes DAP’s Role
         Plaintiff’s Complaint improperly uses words and phrases like “certifying the accuracy”
  and “verified” to describe what DAP did as auditor of Monaker’s financial statements. See, e.g.,
  Complaint at ¶¶ 42, 44, and 49. Similarly, Plaintiff’s Opposition incorrectly uses phrases like
  “affirmed that Monaker’s financial reporting was accurate” and “affirming the accuracy” to
  define DAP’s role. Opposition at pp. 3-4. By using the foregoing phrases, Plaintiff would have
  this Court believe that DAP guaranteed the accuracy of Monaker’s financial statements. It did
  not.
         As set forth in the Motion, DAP did not prepare Monaker’s financial statements nor does
  Plaintiff allege that it did. DAP’s audit report did not guarantee Monaker’s financial statements
  were accurate. Rather, as Monaker’s outside auditor, DAP applied audit procedures to the
  internal information in support of its opinion that, taken as a whole, Monaker’s financial
  statements were presented fairly in all material respects. If any false statements were made, they
  were made by others, not DAP.
         B. Plaintiff Continues to Ignore that RealBiz was a Consolidated Subsidiary of
            Monaker
         Plaintiff mischaracterizes Monaker’s relationship with RealBiz throughout its Complaint.
  It does so by defining RealBiz and Monaker as a “separate company,” “two separate companies,”
  an “entirely separate company,” “entirely separate entities,” and an “entirely separate real estate
               3
  business.”       Never once does the Complaint assert that RealBiz was, in fact, a consolidated
  subsidiary of Monaker as DAP points out in its Motion. Specifically, on October 9, 2012,
  RealBiz became a disclosed consolidated subsidiary of Monaker. It remained a disclosed
  consolidated subsidiary of Monaker until October 31, 2014, when Monaker’s interest in RealBiz
  dropped below 50% and the two companies were deconsolidated. ECF No. 31-5 at p. 6.

  accounting practices and report intercompany transfers could not possibly have “inflated”
  Monaker’s stock price or misled even the most naïve, unsophisticated investor into believing that
  Monaker was a thriving, economically viable entity. This perhaps explains why Plaintiff alleges
  no actual stock prices (whether before the alleged omissions, after the so-called corrective
  disclosure, or even in connection with any actual purchase or sale of Monaker’s common stock).
  Plaintiff’s omission of this critical information compels dismissal of his wholly unspecific
  securities fraud claim.
  2
    DAP hereby incorporates Section I of the other Defendants’ Reply (ECF No. 47 at pp. 2-9).
  3
    Complaint at ¶¶ 2, 33, 36, 40, 41, 42, 43, 47, 48, 57, 59, 60, 61, 62, 67, 87, and 90.
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           In its Opposition, Plaintiff finally acknowledges that “Monaker and RealBiz were
  consolidated companies until October 14, 2015.” Opposition at pp. 5-6.4 However, Plaintiff
  returns to his argument that Monaker and RealBiz were two distinct entities. Opposition at p. 8
  (“…despite the fact that Monaker and RealBiz were two separate companies…”). The fact that
  RealBiz was a consolidated subsidiary of Monaker is factually and legally paramount since
  Monaker was not required to disclose intercompany transactions on its financial statements under
  GAAP during the consolidation period. See, ECF No. 31-4 at p. 73. Plaintiff continues to ignore
  these GAAP requirements and the true nature of the Monaker and RealBiz relationship.
           C. The Hiring of a Successor Auditor and an Alleged Corrective Disclosure Are Not
              Dispositive
           Plaintiff suggests that since DAP is no longer Monaker’s auditor that this somehow
  implicates DAP in the purported fraud at issue. However, “[t]he mere departure of executives or
  auditors, without more, is insufficient to support a strong inference of scienter, and Plaintiffs fail
  to allege any facts linking the departures with the alleged accounting fraud.” Jiangbo
  Pharmaceuticals, Inc., Securities Litigation, 884 F.Supp.2d 1243, 1268 (S.D. Fla. 2012).
  Moreover, the fact that Monaker issued corrective disclosures does not impute wrongdoing on
  DAP. When an auditor is accused of violating Section 10(b), “the plaintiff must plead that the
  market reacted negatively to some disclosure correcting the falsity in the . . . auditor’s statements
  (and not simply the underlying fraud).” Amoroso v. Ernst & Young LLP, 682 F. Supp. 2d 351,
  363 (S.D.N.Y. 2010). Plaintiff failed to make that allegation here.
           Additionally, the Clarified Statements on Auditing Standards provide that a successor
  auditor should request management to communicate with the predecessor auditor when facts
  come to the attention of the successor auditor that indicate that the prior audited financial
  statements may contain material errors. See, Clarified Statements on Auditing Standards, AU–
  C § 510.12-14 (2016). Plaintiff’s Complaint does not, and cannot, allege that any such
  communication was made with DAP. Rather, Plaintiff simply implies that the fact there was a
  successor auditor who issued a corrective disclosure somehow implicates DAP. It does not.
           D. Materiality is Ripe for a Ruling on a Motion to Dismiss
           DAP is not asking the Court to delve into the substance of Plaintiff’s materiality
  allegations. Rather, its argument is that Plaintiff failed to adequately plead this required element.


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      The actual date of deconsolidation was October 31, 2014. ECF No. 31-5 at p. 6.
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  Determining materiality at the motion to dismiss stage is not premature. See, e.g., Philadelphia
  Fin. Mgmt. of San Francisco, LLC v. DJSP Enterprises, Inc., No. 10-61261-CIV, 2011 WL
  4591541, at *15 (S.D. Fla. Sept. 30, 2011) (“In sum, Plaintiffs have failed to allege adequately
  that Defendants made false or misleading material statements about DJSP's operational practices.
  Therefore, the Court will grant Defendants' Motion to Dismiss with respect to these statements.”)
  and Druskin v. Answerthink, Inc., 299 F. Supp. 2d 1307, 1329 n.32 (S.D. Fla. 2004) (finding that
  “materiality can be determined as a matter of law”).
         As discussed in DAP’s Motion, Plaintiff fails to adequately allege that he purchased, held
  or sold shares of Monaker stock based on any material representation or omission made by DAP.
  In his Opposition, Plaintiff makes the blanket statement that “materiality is easily satisfied”
  because “DAP’s misstatements and omissions of fact were critical to investment decisions.”
  Opposition at p. 7. The only factual allegations discussed in the Opposition relate directly to
  Monaker and RealBiz’s actions and not those of DAP.
         Plaintiff also failed to fulfill the materiality requirement because he has not alleged that
  there is a “substantial likelihood that the disclosure of the omitted fact would have been viewed
  by the reasonable investor as having significantly altered the ‘total mix’ of information made
  available.” Oxford Asset Mgmt. v. Jaharis, 297 F.3d 1182, 1189 (11th Cir.2002) (citing Basic
  Inc. v. Levinson, 485 U.S. 224, 23132, 108 S.Ct. 978, 99 L.Ed.2d 194 (1988)). Plaintiff only
  makes the statement that he and other purported class members “purchased Monaker stock based
  on materially false and misleading information causing them to suffer damages…” Complaint at
  ¶ 92. Plaintiff’s “conclusory allegations of misrepresentations and omissions lack the necessary
  “who, what, when, where, and how, of the misconduct charged,” and do not set forth “what is
  false or misleading about a statement [or omission], and why it is false.” Westlake Servs., LLC v.
  Credit Acceptance Corp., No. CV1507490SJOMRWX, 2015 WL 9948723, at *9 (C.D. Cal. Dec.
  7, 2015). Plaintiff cannot satisfy the materiality requirement.
         E. Plaintiff’s Scienter Case Law is Misapplied and Supports Dismissal
         It is undisputed that in order to sustain a 10b-5 claim against an auditor, a plaintiff must
  plead particular facts giving rise to an inference that the auditor intended to defraud investors or
  that it was severely reckless. Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1238 (11th Cir.2008).
  Plaintiff’s Complaint fails to do this. Rather than intending to defraud investors, DAP actually



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  warned investors of Monaker’s ability to continue as a viable company. Indeed, the case law
  cited by Plaintiff actually supports DAP’s position that scienter was not adequately pled.
          In In re Witness Sys., Inc. Sec. Litig., No. 1:06-CV-1894-CC, 2008 WL 9020538 (N.D.
  Ga. Mar. 31, 2008), the plaintiff’s securities fraud complaint included causes of action against
  auditor KPMG. The Court dismissed plaintiff’s complaint against KPMG, with prejudice, after
  the Court found that, as is the case here, the plaintiff simply alleged vague and conclusory GAAS
  and GAAP violations. The Court found this insufficient to establish scienter as to an auditor. Id.
  at *9. The allegations made by Plaintiff here are substantially similar to those that were found
  insufficient in Witness Sys. Plaintiff baldly asserts that DAP breached its obligation to “exercise
  professional skepticism” pursuant to SAS 99. Complaint at ¶ 75. Plaintiff goes on to recite other
  accounting standards and how they should be applied. Id. at ¶¶ 76-77. However, Plaintiff fails
  to specify or state with any particularity any actions by DAP that actually violated professional
  standards. In re Witness Sys. at * 6. Plaintiff also points to Monaker’s restated financial
  statements as a basis to show that DAP acted with scienter. However, the “mere fact that a
  company restated its financial statement does not by itself indicate that an auditor acted with
  scienter.” Id. at *4.
          Similarly, in In re Spear & Jackson Sec. Litig., 399 F. Supp. 2d 1350 (S.D. Fla. 2005),
  the plaintiff alleged that the auditor defendant violated GAAS by, among other things,
  representing that the financial statements at issue complied with GAAP and by not maintaining
  an “independent mental attitude.” Id. at 1362. In its motion to dismiss, the auditor defendant
  argued that the complaint failed to properly allege scienter because the plaintiff simply listed the
  GAAP and GAAS violations without alleging actual instances of “red flags” that provided an
  inference of severe recklessness. Id. Like the Plaintiff here, the plaintiff in Spear alleged that the
  auditor was negligent in violating GAAS. Id. See, e.g., Complaint at ¶ 70 (“[DAP]’s negligence
  is underscored by the fact that [DAP] reviewed and analyzed the Monaker and RealBiz bank
  statements during the class period…”). The Court ultimately found that the allegations were
  insufficient to survive a motion to dismiss against the auditor defendant and that the plaintiff
  failed to allege sufficient red flags to find that the auditor was severely reckless. Id. at 1363. In
  doing so, the Court noted that the “purported red flags cannot simply ‘re-hash’ the alleged GAAP
  violations.” Id. Additionally, a plaintiff cannot establish scienter against an auditor by simply
  alleging that the auditor would have found fraud if it did not violate GAAS. Id.

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         In Ziemba v. Cascade Int'l, Inc., 256 F.3d 1194 (11th Cir. 2001), the Eleventh Circuit
  upheld the dismissal of a plaintiff’s complaint against an auditor for failure to properly plead a
  claim for securities fraud. In Ziemba, the plaintiff alleged that the auditor defendant failed to
  include “going concern” qualifications for the company and its subsidiaries. Id. at 1208. The
  “red flags” at issue in Ziemba consisted of the auditor’s alleged possession of documents and
  other information which plaintiffs argued should have required going concern qualifications in
  the audit opinion prepared. Id. at 1210. The plaintiff asserted that the auditor defendant failed to
  exercise professional care in the examination and preparation of its financial report and did not
  make adequate informative disclosures. The Eleventh Circuit determined that the purported
  GAAP or GAAS violations did not satisfy the particularity requirement of Rule 9(b) and
  affirmed the district court’s ruling dismissing the case. Id. at 1213. In stark contrast to the
  auditor defendant in Ziemba, DAP included going concern sections in its audits of the Monaker
  financial statements. See ECF Nos. 31-1 at p. 93, 31-2 at pp 92-93, 31-4 at p. 78 and 31-5 at p.
  65. Plaintiff also fails to allege any facts suggesting actual awareness by DAP of any fraud
  allegedly perpetrated by Monaker. Plaintiff has not pointed to any “tips, letters, or conversations
  raising inferences that [DAP] knew of any fraud.” Id. at 1210 (internal quotations omitted).
         Plaintiff also cites to several cases that are not factually analogous to the instant action to
  support its scienter analysis. He relies on In re Catalina Mktg. Corp. Sec. Litig., 390 F. Supp. 2d
  1110, 1113 (M.D. Fla. 2005) to support his proposition that GAAS violations can be considered
  when determining if scienter was properly alleged. However, in Catalina, there was no auditor
  named as a defendant. The entity and its directors and officers were the only named defendants.
  Thus, the analysis is inapposite.
         Next, Plaintiff relies on Carley Capital Group v. Deloitte & Touche, L.L.P., 27 F. Supp.
  2d 1324 (N.D.Ga.1998). In Carley Capital, when denying the auditor’s motion to dismiss,
  the Court found that the plaintiffs had adequately alleged scienter. However, the facts of this case
  are clearly distinguishable from those at issue in Carley Capital. Importantly, and in direct
  contrast to the facts at issue here, the Court emphasized that the auditor was “not just an auditor”
  but “was heavily involved in the management of Medaphis and had unrestricted access to its
  financial records and data.” Id. at 1339. Therefore, unlike the relationship between Monaker
  and DAP, the auditor in Carley Capital worked closely with the defendant entity in preparing its
  financial statements.

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            In In re Sunterra Corp. Sec. Litig., 199 F. Supp. 2d 1308 (M.D. Fla. 2002), the Court
  actually declined to follow the rationale of the Court in Carley Capital. There, the plaintiff
  attempted to rely on the holding in Carley Capital to support its position that the allegations were
  sufficient to maintain a securities fraud claim against an auditor defendant. Id. at 1334. The
  Sunterra Court found that Carley Capital was “factually distinguishable due to the auditor's
  extensive involvement with the corporation—a circumstance which appears to have been
  weighed heavily by that district court and which has not been alleged as to Arthur Andersen in
  the instant case.” Id. at 1335. There is no allegation here that DAP, as an outside auditor, was
  heavily involved with Monaker’s day to day business operations and the findings of the Carley
  Capital Court should not be applied here. 5
           Similarly, in Cheney v. Cyberguard Corp., No. 98-6879-CIV-GOLD, 2000 WL 1140306
  (S.D. Fla. July 31, 2000), the defendant auditor moved to dismiss plaintiffs’ complaint and
  argued that plaintiffs failed to establish scienter. Id. at *10. Strikingly, the defendant auditor in
  Cheney did not deny that it violated accounting or audit principles or that its audit opinion
  provided to be materially false or misleading. Id. However, the auditor did argue that the
  allegations made by the plaintiffs were insufficient to establish scienter. Plaintiffs’ scienter
  allegations were tied to the auditor’s publication of “inaccurate accounting figures and its failure
  to follow accounting and auditing principles.” Id. The plaintiffs also alleged red flags that the
  auditor purportedly ignored easily discoverable fraud and that the auditor either knew about it or
  was reckless in ignoring it. Id. The Court found that these allegations were insufficient to
  support an inference of scienter and granted dismissal, with prejudice, of the 10(b) claim against
  the auditor.     Id. at *12. See also, Chill v. General Elec. Co., 101 F.3d 263, 270 (2d
  Cir.1996) (“Allegations of a violation of GAAP provisions or SEC regulations, without
  corresponding fraudulent intent, are not sufficient to state a securities fraud claim.”).
           Given the authority cited by DAP in its Motion, and the cases relied upon by Plaintiff in
  his Opposition, it is clear that Plaintiff’s allegations fall well short of properly pleading scienter
  as to DAP.
           F. Plaintiff Cannot Rely on the Fraud on the Market Theory
           Plaintiff did not allege, and cannot allege, that he relied on any DAP representations
  when purchasing or selling Monaker stock. Rather than rely on actual reliance to support his

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      The Ziemba Court also declined to follow the holding of Carley Capital.
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  claim against DAP, Plaintiff is left with an ill-fated attempt to invoke the “fraud on the market”
  theory to establish reliance -- by alleging that Monaker stock was traded on a “public, efficient,
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  OTC market…”          However, Plaintiff appears to ignore that the 10-Ks filed during the class
  period specifically noted that Monaker stock did not trade in an open and efficient market. See
  ECF Nos. 31-1 at p. 31, 31-2 at p. 30, 31-4 at p. 28 and 31-5 at p. 18. Plaintiff cannot rely on the
  publicly filed information he relies on to form the basis of his claim, while, at the same time,
  argue that it should be ignored when it rebuts his claims.
         While the Eleventh Circuit has not adopted a mandatory analysis for market efficiency, it
  is not without a framework. As the Court noted in Local 703, I.B. of T. Grocery & Food
  Employees Welfare Fund v. Regions Fin. Corp., “our more flexible approach of leaving the
  analysis in the capable hands of District Courts by no means implies that we have given no
  guidance.” 762 F.3d 1248, 1255 (11th Cir. 2014). Contrary to Plaintiff’s position, the Eleventh
  Circuit emphasized that, “we have indeed defined some features of an efficient market: high-
  volume trading activity facilitated by people who analyze information about the stock or who
  make trades based upon that information.” Id. Monaker’s public filings made clear that Monaker
  stock did not meet this articulated criteria. Plaintiff cannot rely on his boilerplate allegations
  when the 10-Ks clearly show that Monaker stock was not traded on an efficient market.
         Furthermore, the fact that Plaintiff argues that Monaker stock only traded in an OTC
  market is fatal to his fraud-on-the-market theory of reliance. Numerous courts have held that as
  a matter of law the OTC market is not efficient. See, ScripsAmerica, Inc. v. Ironridge Glob. LLC,
  119 F. Supp. 3d 1213, 1251 (C.D. Cal. 2015) (“Scrips cannot invoke the fraud-on-the-market
  presumption of reliance because its shares trade on the OTC market; although it has added
  allegations that the market in its stock is efficient, those allegations fail to plead the fact
  plausibly.”); Salvani v. ADVFN PLC, 50 F.Supp.3d 459, 473 n. 9 (S.D.N.Y.2014) (“while the
  NASDAQ is recognized as maintaining an efficient market ... the Court is unaware of any court
  holding that the OTCBB ... meet[s] this same standard”)(internal quotation marks omitted));
  Epstein v. Am. Reserve Corp., No. 79–CV–4767, 1988 WL 40500, *5 (N.D.Ill. Apr. 21, 1988)

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    Plaintiff does not actually allege, in his Complaint, that Monaker stock traded in an OTC
  market. Instead, he relies on the 2014 10-K referenced by DAP in its Motion and his argument
  in response to the other Defendants’ Motion to Dismiss (ECF No. 40 at p. 14). Plaintiff cannot
  amend his allegations through his response to DAP’s Motion to Dismiss. Miccosukee Tribe of
  Indians of Florida v. United States, 716 F.3d 535, 559 (11th Cir. 2013).
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   (“Although the issue was not briefed, we believe that the over-the-counter market is incapable of
   meeting the Supreme Court test [as set forth in Basic]”); In re Data Access Sys. Securities
   Litigation, 103 F.R.D. 130, 138 (D.N.J.1984) (“The trading on the over-the-counter market may
   not constitute an ‘active and substantial’ market necessary to apply the fraud-on-the-market
   theory.”).
           Plaintiff also disputes DAP’s assertion that he did not purchase his shares on the open
   market, but, rather, through private offerings. In doing so, Plaintiff argues that whether or not he
   purchased his shares on the open market is a factual determination. That argument rings hollow.
   The Private Securities Litigation Reform Act of 1995, 15 U.S.C. §78u-4(a)(2), requires a
   plaintiff to file a certification setting forth all of the transactions in the security that is the subject
   of the Complaint. Plaintiff’s certification evidences that his only Monaker transactions came
   through private offerings for accredited investors. See ECF Nos. 8 and 25. Plaintiff’s failure to
   plead that he purchased any common stock or converted his shares is not a concession by DAP
   that this requires a “factual inquiry.” Instead, Plaintiff’s failure to certify the purchase of shares
   on the open market is a fatal pleading deficiency that requires dismissal. His certification
   evidencing only private purchases makes any amended pleading futile.
           G. Plaintiff Failed to Sufficiently Plead Loss Causation
           The Eleventh Circuit has instructed that “[b]ecause Rule 10b-5 sounds in fraud, the
   plaintiff must plead the elements of its violation” – including loss causation – “with
   particularity.” Thompson v. RelationServe Media, Inc., 610 F. 3d 628, 633 (11th Cir. 2010).
   Plaintiff failed to do so.
           Plaintiff relies on In re: Petrobras Sec. Litig., No. 14-CV-9662 (JSR), 2016 WL 1533553
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   (S.D.N.Y. Feb. 19, 2016)          to support its contention that he adequately pled loss causation.
   However, in Petrobras, unlike this case, the auditors issued a clean audit report on the
   company’s financial statements and plaintiffs alleged that the auditor certified that the company
   had effective internal controls. Id. at *1. The loss causation analysis in Petrobras turned on the
   alleged losses and writedowns that the auditor approved in the financial statements. Id. at *3.

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     The factual backdrop for the audit period in Petrobras is clearly distinguishable in that there
   were internal company investigations into kickbacks, news reports regarding company
   corruption, a committee was assembled to investigate kickbacks, a senior company executive
   was arrested for participation in a money laundering scheme, and a court found evidence of
   improper conduct on the part of company executives which resulted in a $792 million fine.
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   The Court found that the allegations against the auditor as to loss causation were sufficient and
   gave rise to an inference that had the auditor discovered the alleged fraud and withheld the clean
   audit options, plaintiffs would have been spared a portion of their losses. Id.
          That situation is not present here. Plaintiff must “allege that the subject of the fraudulent
   statement or omission was the cause of the actual loss suffered, i.e., that the misstatement or
   omission concealed something from the market that, when disclosed, negatively affected the
   value of the security.” Durham v. Whitney Info. Network, Inc., No. 06-CV-00687, 2009 WL
   3783375 at * (M.D. Fla. Nov. 10, 2009). Plaintiff failed to do so. Instead, Plaintiff substantiates
   the need for dismissal by stating that losses “can be more acutely described if Plaintiff is called
   upon to do so.” Opposition at p. 18.
          Additionally, Plaintiff tries to distinguish Amorosa v. Ernst & Young LLP, 682 F. Supp.
   2d 351 (S.D.N.Y. 2010). However, its attempt to do so misses the mark. In Amorosa, the Court
   found that the plaintiff “failed to allege, as required, that the market reacted negatively to some
   corrective disclosure regarding the falsity of statements” made by the auditor in its opinion letter.
   Id. at 364. As the Court noted in Amorosa, “[i]ndeed, paragraph 30, which Amorosa relies on to
   substantiate his loss causation allegations, does not mention the June 1999 Opinion by name;
   does not mention any audited or annual financial statement (of which the June 1999 Opinion is
   one); and does not mention Ernst & Young or any other auditors.” Id. (emphasis in original).
   The same dynamic exists here. Plaintiff makes no allegation that a corrective disclosure caused
   the market for Monaker stock to react negatively. He simply alleges that the “stock fluctuated
   rapidly” during the Class Period and does not tie the purported fluctuation to a corrective
   disclosure. Complaint at ¶ 87. Plaintiff must plead that the market had a negative reaction to a
   corrective disclosure in order to satisfy this element, and he failed to do so.
   III.   CONCLUSION
          For the foregoing reasons, and those initially set forth in DAP’s Motion, DAP
   respectfully requests this Court enter an Order dismissing Count V of the Complaint, with
   prejudice.




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                                Respectfully submitted,

                                s/Philip E. Ward
                                Philip E. Ward (Florida Bar No. 869600)
                                E-mail: pward@gray-robinson.com
                                Evan D. Appell (Florida Bar No. 58146)
                                E-mail: evan.appell@gray-robinson.com
                                GrayRobinson, P.A.
                                401 East Las Olas Blvd, Ste 1000
                                Fort Lauderdale, Florida 33301
                                Telephone: (954) 761-8111
                                Facsimile: (954) 761-8112
                                Attorney for Defendant, D’Arelli Pruzansky, P.A




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 31st day of March, 2017, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
   document is being served this day on all counsel of record identified below via transmission of
   Notices of Electronic Filing generated by CM/ECF or as otherwise specified below.

   John G. Crabtree, Esquire                     Jose A. Loredo, Esquire
   Charles M. Auslander, Esquire                 Adrian K. Felix, Esquire
   George R. Baise, Jr., Esquire                 Attorneys for Monaker Group, Inc., William
   Brian C. Tackenberg, Esquire                  Kerby and Don Monaco
   Attorneys for Plaintiff                       Carlton Fields Jorden Burt P.A.
   Crabtree & Auslander                          100 SE 2nd Street, Suite 4200
   240 Crandon Boulevard, Suite 101              Miami, FL 33131
   Key Biscayne, FL 33149                        jloredo@carltonfields.com
   jcrabtree@crabtreelaw.com                     afelix@cfjblaw.com
   causlander@crabtreelaw.com
   gbaise@crabtreelaw.com                        John Ernest Clabby, Esquire
   btackenberg@crabtreelaw.com                   Erin Jeanette Hoyle, Esquire
   floridaservice@crabtreelaw.com                Attorneys for Monaker Group, Inc., William
                                                 Kerby and Don Monaco
                                                 Carlton Fields Jorden Burt PA
                                                 4221 W. Boy Scout Blvd., Ste. 1000
                                                 Tampa, FL 33607
                                                 jclabby@carltonfields.com
                                                 ehoyle@carltonfields.com



                                       s/Philip E. Ward
                                       Philip E. Ward (Florida Bar No. 869600)
                                       E-mail: pward@gray-robinson.com
                                       Evan D. Appell (Florida Bar No. 58146)
                                       E-mail: evan.appell@gray-robinson.com
                                       GrayRobinson, P.A.
                                       401 East Las Olas Blvd, Ste 1000
                                       Fort Lauderdale, Florida 33301
                                       Telephone: (954) 761-8111
                                       Facsimile: (954) 761-8112
                                       Attorneys for Defendant, D’Arelli Pruzansky, P.A.




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